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 04-60001 .rr7
                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORID A

                             Case No. 04-60001-CR-COOKEBROWN

UNITED STATES OF AMERICA ,

        Plaintiff,

vs .

JOSE PADILLA , et al . ,

        Defend ants.


           CORRECTED REPORT AND RECOMMENDATION (as to footnote 9) *

        This matter is before this Court on Defendant Jose Padilla's Motion to Suppress Physical

Evidence and Issue Writs Ad Testificandum, filed May 31, 2006 . The Court has considered the

Motion, the Response and the Reply .

                                               FACTS

        Defendant moves to suppress all physical evidence seized from him on May 8, 2002 after hi s

arrival at Chicago's O'Hare International Airport aboard an international flight from Zurich,

Switzerland. The facts surrounding Defendant's arrest pursuant to a material witness warrant on that

day are fully set forth in this Court's Report and Recommendation on Defendant's Motion to Suppress

Statements, and the Court adopts that discussion by reference herein .

        The material witness warrant, which was signed by Chief Judge Michael B . Mukasey of the

United States District Court for the Southern District of New York, was issued on an affidavit swo rn

to by Special Agent Joe Ennis of the Federal Bureau of Investigation ("the affidavit") . The information

in the affidavit comes almost exclusively from two sources that are described respectively as "a




* Due to computer error, the entire text did not appear in the original footnote.
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Confidential Source " ("CS-1 "), who Defend ant maintains is Abu Zubayda, currently in the custody of

the U . S . government , and "SUBJECT- 1," who Defendant maintains is Binyam Ahmed Muhammed,

a/k/a Talha al kini, a/k/a Fouad Zouaoui , who is currently detained at the United States Naval B ase in

Gu antan amo Bay, Cuba. The information provided by these witnesses was offered to establish that

Defendant had information mate rial to a grand jury investigating p ast and future attacks against the

United States by members and associates of Al Qaeda . '




         'In sum, the affidavit recites that CS-1 referred to inquiries by a person whom he initially
 referred to as "South American" and then later identified as "Abdullah Al Muhajir," and a second
 individual referred to as Subject-1 . CS- I was shown a photograph which "was taken from the
 U.S . passport of Jose Padilla, which had been recovered from Padilla's person," and identified him
 as Abdullah Al Muhajir . Aff. 14a . CS-1 states that these two individuals had asked him for his
 opinion on their plan to build an explosive device that would combine uranium or other nuclear or
 radioactive material with an "ordinary" explosive device ("dirty bomb"), and then detonate the
 dirty bomb in the United States . CS-1 further stated that he did not think that the two individuals
 were members of Al Qaeda, that he believed the dirty bomb was still in the idea phase, as they did
 not have any radioactive material, but had mentioned stealing some from an unnamed university,
 that he believed that they had consulted an unidentified internet website to learn how to assemble
 a dirty bomb, and that Padilla seemed very familiar with the Washington, D .C. area . CS-1 further
 stated that they asked him to put them in touch with another individual known by CS- I to be a
 member of Al Qaeda ("Subject-2") . CS-I told Padilla and Subject-1 that Subject 2 would be
 interested in working with them because they were not Arab and would draw less attention, they
 could travel freely with passports that would not draw much attention, and they were willing to
 work . He further stated that Subject-1 was willing to become a martyr, but Padilla was not . Aff.
 ¶¶4-5 .

         The affidavit further recites that Subject-1 had been detained at an airport in Pakistan, on
 suspicions (later confirmed) that he had a fraudulent non-U .S . passport . It further states that in an
 interview (not performed by Special Agent Ennis), Subject-1 stated that he and Padilla traveled
 together to Pakistan at the behest of CS-1 to receive training in "wiring explosives," and that
 while in Pakistan he and Padilla researched the construction of a uranium-enhanced device, which
 would be detonated in the United States . Subject-I stated that they discussed this plan with CS-
 1, who referred them to other members of Al Qaeda for further discussion of the operation, and
 that Al Qaeda officials held at least two separate meetings with Padilla, in which (Subject-1
 believed) they directed Padilla to return to the United States to conduct reconnaissance on behalf
 of Al Qaeda in the United States . Finally, the affidavit refers to a separate interview with Subject-
 1's wife, in which she told law enforcement authorities that Subject-1 "would often become
 emotional and cry when he discussed his willingness to die for his God . "

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        In his Motion, Defendant argues the evidence must be suppressed because the affidavit failed

to inform the issuing court of the following "facts," which Defendant maintains were "critical to the

determination of probable cause" :2

        A That Abu Zubayda was suffering from multiple gunshot wounds at the time he provided

                the information included in the affidavit ;

        B . What medical attention Abu Zubayda had received or if medical attention, other than

                drugs, was withheld while he was interrogated ;

        C. That the government somehow came into possession of a passport that Defendant had

                lost and later showed it to CS- I and the government fails to explain how this happened ;

                and

        D. That Binyam Muhammad was subjected to torture between interrogation sessions with

                the FBI .

                                             DISCUSSION

        Defendant argues that the above referenced "omissions" render the warrant invalid because i t

was issued "on the basis of an affidavit that distorted the facts in an apparent disregard for the truth,"

in violation of Franks v . Delaware , 438 U .S . 154 (1978) . Mot . p . 7 . Defendant additionally argues

that the warrant was based on information which was obtained under an "unreasonable search" under

the Fourth Amendment, and/or under a Fifth Amendment Due Process analysis where "such methods

are `too close to the rack and the screw to permit of constitutional differentiation' ." Mot. p . 8 (quoting




         'In his Reply and attached Affirmation Defendant alleged, for the first time, additional
 alleged falsehoods and misrepresentations ; those claims are improperly raised and will not be
 addressed by the Court .

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Rochin v . California, 342 U .S. 165, 172 (1952)) .3

        Necessary Showing for a Franks Hearin g

        In order for Defendant to be entitled to a hearing under Franks , Defendant must make a

"substantial preliminary showing" that the affidavit contained an intentional or reckless falsehood, or

failed to include material information in the affidavit, and that the challenged statement or omission

was necessary to the finding of probable cause . 438 U .S . at 155-56 ; see also United States v. Arbolaez ,

450 F .3d 1283, 1294 (11``' Cir. 2006) . The allegations of deliberateness or recklessness "must be

accompanied by an offer of proof." Id . (quoting Williams v . Brown , 609 F .2d 216, 219 (5`h Cir. 1979)

(quoting Franks , 438 U .S . at 171)) . "Affidavits or sworn or otherwise reliable statements of witnesses

should be furnished, or their absence satisfactorily explained ." Id .

        As to each of the alleged "facts," Defendant has failed to provide any proof that Special Agent

Ennis knew or should have known of them, such that the failure to include them was either intentional

and/or reckless .' As an initial matter, Defendant offers no proof, but only allegations as to the

identities of CS-1 and Subject 1 . Indeed, in the Affirmation of Defendant's attorney, Andrew G . Patel,

which Defendant offers in support of his motion, Mr. Patel states, inter alia,

           In the Ennis affidavit, . . . it is believed that CS-1 is meant to be Abu Zubaydah,
           Subject-I is meant to be Binyam Mohamed, and Subject-2 is meant to be Khali d


        'Defendant requests that this Cou rt issue Writs Ad Testific andum to both Abu Zubayda and
Binyam Ahmed Muhammed, claiming that at an evidentiary hearing, he "will be able to establish
that Abu Zubayda was in such medical extremis that he w as unable to provide reliable
information " an d that " Binyam Muhammad w as being tortured , if not at the exact moment he w as
being interrogated, sufficiently contempor aneously so as to render the time between his being
tortured and his being interrogated me aningless ." Mot . p . 6 .

        'As the Government notes, the Court must consider Special Agent Ennis's knowledge of
facts on or about May 8, 2002, as learned during his investigation, and with the assistance of
conversations with other law enforcement officers and the review of documents and reports
prepared by other officers, as opposed to facts which may have come light since that time .

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            Sheikh Mohammed . . . . This assumption, which the government has not disputed,
            maybe wrong . The statements made about Mr . Mohamed seem to be so obviously
            false that perhaps Subject-I is not meant to be Mr . Mohamed . . . .

Patel Aff. 124 . Therefore, not only has Defendant offered no proofthat Subject-I is Binyam Mohamed,

he in fact offers proof that suggests he is not. If the proof as to the identities of CS-1 and Subject-I

fails, which it does, the remainder of Defendant's position must fail as well .

        Moreover, Special Agent Ennis states in the affidavit that the information he provides as to the

interview with CS- I was "[b]ased on my review of the reports of [interviews of CS-I by other agents]

and on my conversations with other law enforcement officers ." Aff ¶4 . As to Subject-1, he states that

he has "reviewed reports prepared based on [an interview in or about early April 2002], and ha[s]

spoken with other law enforcement officers regarding this interview." Aff. 15 . There is no averment

in the affidavit that Special Agent Ennis had any personal knowledge of the circumstances alleged by

Defendant as to the treatment of either CS-1 or Subject-1 . Specifically with respect to Subject-1, the

Government represents that "[n]either the affiant nor the agents he consulted with as part of the

investigation that led to the issuance ofthe Material Witness Warrant had anyknowledge that Subject-I

had been tortured, and/or that reports reviewed about the interviews of Subj ect- I contained information

that was the product of torture ." Resp . p . 15 .

        Defendant attempts to resolve this dilemma by arguing that a hearing should be held due to "the

government's monopoly on access to relevant information ." Defendant offers no legal support for this

argument, which in essence, would do away with the "substantial preliminary showing" requirement

ofFranks.s Defendant additionally relies on "the doctrine ofwillful blindness or deliberate ignorance, "



         'As to Defend an t's request for the Cou rt to issue Wri ts Ad Testific andum, as the Cou rt
 noted in Arbolaez ,"[t]o m andate an evidentiary hearing, the challenger ' s attack must be more th an
 conclusory and must be suppo rt ed by more th an a mere desire to cross -examine." 450 F .3d at
 1294 (quoting Williams v . Brown , 609 F . 2d 216 , 219 (5th Cir . 1979 ) (quoting Franks, 438 U.S. at
 171)).

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where knowledge can be imputed to a party "who knows of a high probability of certain conduct and

purposely contrives to avoid learning ofit ." United States . v . Baxter Int'l ., Inc. , 345 F.3d 866, 902 (11`h

Cir. 2003) . Again, Defendant offers no proof that Special Agent Ennis should know of the alleged

conduct concerning CS-1 and/or Subject-1 or that he purposely contrived to avoid learning of it .

         Because Defendant has failed to make a "substantial preliminary showing" that Special Agent

Ennis acted either intentionally or recklessly with respect to the contents of the affidavit, Defendant

is not entitled to a Franks hearing . Moreover, even if Defendant had established this element, he has

failed to establish that the challenged statements or omissions were necessary to the finding of

probable cause, as further discussed below .

         (1) and (2) - Medical Condition of CS- 1

         The "facts" surrounding CS-1's medical condition and treatment relate to the credibility of the

information that CS-1 was providing . As the Government notes, Agent Ennis advised in the affidavit

that CS- I had not, at times, been completely candid with interviewers, and was being treated with

"various types of medication," thus already placing CS-I's credibility at issue . Moreover, asthe

affidavit reflects, a sufficient portion of the information provided by CS-1 as it relates to Defendant's

potential as a material witness was corroborated by information gained in separate interviews with

Subject-1 and his wife . See United States v. Awadallah , 349 F .3 d 42,65 (2d Cir . 2003) ("The ultimate

inquiry is whether, after putting aside erroneous information and material omissions,' there remains

a residue of independent and lawful information sufficient to support probable cause."') (citations

omitted) .

        The Court agrees that even if Special Agent Ennis was or should have been aware of the

"multiple gunshot wounds" and the exact nature of medical attention that was being given to CS- I ,that

information was not essential for a finding of probable cause. See United States v. Novaton , 271 F .3d


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968, 987 (11" Cir . 2001) .

        (3) Government ' s Possession of Defendant's Passport

        The third claim raised in the Motion concerns Special Agent Ennis's failure to disclose the

circumstances under which the Government obtained the photograph which was shown to CS- I . The

Government notes that this claim is based upon Defendant's assumption that the "photograph" the

affiant refers to had to be either the original photograph from the passport which Defendant had in his

possession when he arrived in Chicago on May 8, 2002, or the original photograph from a prior

passport which Defendant maintains was lost .' The Government responds that neither scenario

assumed by Defendant is actually the case, and states in its Response that it is filing a separate classified

ex-parte declaration, explaining how a photograph was taken from a passport recovered from

Defendant's person .

        The Court finds that Defendant has failed to make a "substantial preliminary showing" that the

reference to the photograph was a misrepresentation or an omission, and for this additional reason,

Defendant is not entitled to a hearing under Franks.' Furthermore, Defendant has not demonstrated

the relevance, or materiality, of this issue. There is no claim in the motion that the photograph that was

shown was actually not of the Defendant.




         'Defendant argues that the Government could not have shown CS-1 the photograph from
 the passport he had with him when he entered the United States on May 8, 2002, based on the
 time that Judge Mukasey signed the material witness warrant .

         'In his Reply, Defendant inappropriately raises for the first time the argument that any
 reference to the identification of Defendant should be stricken from the affidavit because CS-1 was
 shown a single photograph of Defendant . That argument was not raised in the Motion, and in any
 event, the issue is irrelevant, in that Defendant states no legal support for the argument that
 showing a witness a single identification photograph for use in preparing an affidavit in support of
 a material witness arrest warrant is improper .

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        (4) - Alleged Torture of Subject- 1

        In an attempt to meet his burden as to this claim, Defendant claims that he "sought an affidavit"

from Binyam Muhammad but that he was unable to obtain one due to the regulations at Guantanamo

Bay. Defendant has submitted an Affirmation of Andrew G . Patel, one of Defendant's attorneys, who

states that he has spoken with Mr . Mohammed's attorneys . Mr. Patel states that Mr. Mohammad's

counsel attempted to give Mr . Mohammad a copy of a draft affidavit in support of the instant motion,

but that Mr. Mohammad would not sign it because the current regulations did not afford him an

adequate opportunity to review it .

        Mr. Patel then states that "[b]ased on a review of the unclassified documents in both Mr .

Mohammad's case and Mr . Padilla's case, I have been authorized to inform this Court that were Mr .

Mohammad permitted to sign an affidavit or testify before this Court, he would provide the following

information under penalty of perjury ." Patel Aff. ¶4 .8 Included in the recitation is a description of

interrogation of Mr . Mohammad in Pakistan, performed by agents who allegedly represented

themselves as FBI agents, allegedly accompanied by torture by Pakistanis . Even assuming that this

Affirmation by Mr . Patel satisfies Defendant's preliminary burden of proof, Special Agent Ennis's

affidavit states that a substantial portion of the information provided by Mr . Mohammad was

corroborated by information obtained from an interview of CS-I conducted at a separate time . The

Court therefore finds that there was an independent source of the information for purposes of

establishing probable cause. See Awadallah , 349 F .3d at 65 . y



        'If the documents that were reviewed are unclassified, those documents could have been,
 but have not been, submitted to the Court for review .

         'The Court additionally rejects Defendant's challenge under the Fourth and Fifth
 Amendments . The Affirmation is based not on personal knowledge but on double hearsay .
 Furthermore, the constitutional rights which would arguably be violated by statements obtained by
 torture would be those of the person tortured, not of Defendant . Finally, if this Court were t o

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                                        RECOMMENDATION

        Accordingly, the Court respectfully recommends that Defendant Jose Padilla's Motion t o

Suppress Physical Evidence and Issue Writs Ad Testificandum be DENIED .

        The parties have ten (10) days from the date of this Report and Recommendation within which

to serve and file written objections, if any, with the Honorable Marcia G . Cooke, United States District

Judge for the Southern District of Florida . Failure to file objections timely shall bar the parties from

attacking on appeal the factual findings contained herein . LoConte v . Dugger , 847 F .2d 745 (11 `h

Cir .1988), cert . denied , 488 U .S . 958 (198 8

        DONE AND ORDERED thi s day of September, 2006- fiWiami, Florida .




cc: Honorable Marcia G . Cooke
      AUSA Russell Killinger
      Kenneth Swartz, Esq .
      Jeanne Baker, Esq .
      Andrew Patel, Esq.
      AFPD Michael Caruso
      William W . Swor, Esq .




 accept Defendant's unsupported argument that "the use of such illegally obtained information
 should not be tolerated" this would, in essence, require the Court to investigate in every case, as
 to every warrant, the manner in which statements made in support of that warrant were obtained .

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